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       Case 4:19-cv-00035-RM-LAB Document 349 Filed 03/06/23 Page 2 of 4




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 6                            UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF ARIZONA
 8
     Russell B. Toomey,
 9                      Plaintiff,               Case No.19-cv-00035-TUC-RM (LAB)
10   v.
     State of Arizona; Arizona Board of Regents,
11   D/B/A University of Arizona, a governmental JOINT STATUS REPORT RE
     body of the State of Arizona; et al.,       SETTLEMENT
12

13                       Defendants.
14          On January 5, 2023, the Court ordered that on or before March 6, 2023, the parties
15   submit a joint status report concerning the status of settlement discussions, and whether oral
16   argument is necessary in connections with the parties’ respective summary judgment
17   motions. (Doc. 347)
18          Pursuant to that order, the parties hereby inform the Court that they have made
19   significant progress towards settlement, and expect to finalize a settlement framework
20   within the next 30 days. The parties respectfully request that oral argument continue to be
21   postponed while settlement negotiations continue. Assuming that a settlement framework
22   has not been finalized in the next 30 days, the parties can plan to provide the Court with
23   another Joint Status Report on April 5, 2023 (or whatever date the Court deems appropriate).
24          Respectfully submitted this 6th day of March, 2023.
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      Case 4:19-cv-00035-RM-LAB Document 349 Filed 03/06/23 Page 3 of 4




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      Case 4:19-cv-00035-RM-LAB Document 349 Filed 03/06/23 Page 4 of 4




 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on March 6, 2023, I electronically transmitted the attached
 3   document to the Clerk’s office using the CM/ECF System for filing. Notice of this filing
 4   will be sent by email to all parties by operation of the Court’s electronic filing system.
 5
                                        /s/ Christine Wee
 6
                                        Christine K. Wee
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